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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   ------------------------------------X
   BABY DOE, A CITIZEN OF AFGHANISTAN     :
   CURRENTLY RESIDING IN NORTH            :
   CAROLINA, BY AND THROUGH NEXT          :               CIVIL ACTION NO. 3:22-CV-49
   FRIENDS, JOHN AND JANE DOE;AND JOHN :
   AND JANE DOE, CITIZENS OF AFGHANISTAN :
   AND LEGAL GUARDIANS OF BABY DOE,       :
                                          :
        Plaintiffs,                       :
                                          :
   v.                                     :
                                          :
   JOSHUA MAST, STEPHANIE MAST, RICHARD :
   MAST, KIMBERLEY MOTLEY, AND AHMAD :
   OSMANI,                                :
                                          :
        Defendants,                    :
                                        :
   and                                  :
                                        :
   UNITED STATES SECRETARY OF STATE    :
   ANTONY BLINKEN AND UNITED STATES :
   SECRETARY OF DEFENSE GENERAL         :
   LLOYD AUSTIN,                       :
                                       :
        Nominal Defendants.            :

   ------------------------------------X


    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO SEAL
    EXHIBIT 2 TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO NON-PARTY
     PIPE HITTER FOUNDATION, INC.’S MOTION TO QUASH SUBPOENA OR FOR
                      ENTRY OF A PROTECTIVE ORDER

          Having considered Plaintiffs’ Motion, and Memorandum of Law in Support of Motion, to

   seal Exhibit 2 to their Memorandum in Opposition to Non-Party Pipe Hitter Foundation, Inc.’s

   Motion to Quash Subpoena or for Entry of a Protective Order (“Opposition”), pursuant to Local
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   Civil Rule 9, and for good cause shown, and the requirements of Local Civil Rule 9(b), and the

   decisions in Ashcraft v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight Publishing Co.,

   743 F.2d 231 (4th Cir. 1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988)

   having been met, it is hereby ORDERED that Plaintiff's Motion is granted. It is further

   ORDERED that Exhibit 2 to the Opposition is filed under seal.



           Entered this ___ day of ______________, 2023.



                                                ______________________________
                                                Judge




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